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          IN THE UNITED STATES BANKRUPTCY COURT
            FOR THE EASTERN DISTRICT OF NEW YORK
        ------------------------------x
        IN RE GOLDEN                                  Case No.
                      Debtor.                       16-40809(ESS)
        ------------------------------x                Chapter 7
        TASHANNA B. GOLDEN                          Adv. Pro. No.
        f/k/a TASHANNA B. PEARSON on                   1-1701005
        behalf of herself and all other
        similarly situated,
                      Plaintiffs,
              VS.
        NATIONAL COLLEGIATE STUDENT LOAN
        TRUST 2005-3, NATIONAL COLLEGIATE
        STUDENT LOAN TRUST 2006-4, GS2 2016-A,
        PENNSYLVANIA HIGHER EDUCATION
        ASSISTANCE AGENCY d/b/a AMERICAN
        EDUCATION SERVICES, FIRSTMARK SERVICES,
                      Defendants.
        ------------------------------x
          VIDEOTAPED DEPOSITION of RICHARD B. NEELY
                         Boston, Massachusetts
        Reporter: MaryJo O'Connor, RMR, CSR
        Job No. 477162
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 1                 R. Neely                            1                R. Neely
 2       A. Correct.                                   2   that mean to you?
 3       Q. And TERI was not entitled to any           3       A. Well, that's not exactly a clear
 4   financial assistance from the U.S. Department     4   question, or clear term.
 5   of Education for its guarantees; is that          5       Q. What does it mean to originate a
 6   correct?                                          6   student loan?
 7       A. Correct.                                   7       A. To originate the student loan
 8       Q. Each loan that TERI guaranteed was         8   involves a process that involves underwriting
 9   funded by a participating private financial       9   as well as disbursement.
10   institution; is that fair to state?              10       Q. Did TERI ever underwrite any
11       A. Correct.                                  11   student loans?
12       Q. And TERI did not guarantee federal        12       A. TERI acted as a loan servicer on
13   loans?                                           13   behalf of the funding source, the lenders.
14       A. Correct.                                  14       Q. Going back to my question of
15       Q. Did TERI ever fund any of the             15   whether or not TERI ever funded loans, did TERI
16   loans that were made to the student borrowers?   16   ever act as the funding source for the loans to
17       A. Help me understand that question          17   the student borrowers?
18   again? Or repeat it at least?                    18       A. TERI was not a source of funds.
19       Q. Did TERI ever advance the loan            19   TERI was a disbursement agent on behalf of
20   funds to the borrowers?                          20   lenders.
21       A. No.                                       21       Q. But the disbursements of money
22       Q. And when I refer to the term              22   that were made to the student borrowers as
23   "funded," you've been involved in the student    23   loans wasn't, I guess you could say, TERI's
24   loan business for a long time, what does that    24   money; it was the bank's money.
25   mean? If I say did TERI fund a loan, what does   25       A. Yes.
                                          Page 32                                               Page 33
 1                R. Neely                             1                 R. Neely
 2       Q. And TERI was simply acting as a            2   lenders, for example, originated loans and did
 3   disbursing agent; is that what you said?          3   all of the work themselves, including the
 4       A. Yes.                                       4   underwriting and disbursement. And in later
 5       Q. Did TERI ever own any loans,               5   years, TERI itself took over the underwriting
 6   student loans?                                    6   service, if you will, the loan origination
 7       A. TERI's affiliate, an affiliated            7   service, and did the origination service and
 8   entity of TERI, did purchase loans from at        8   disbursement.
 9   least one bank and possibly there was a mixed     9       Q. And was that after 2001, which you
10   portfolio. So there was a TERI affiliate that    10   were just mentioning when TERI took over the
11   did purchase loans.                              11   underwriting and loan disbursement itself, or
12       Q. What was the name of the                  12   was it before the transaction with FMC, First
13   affiliate?                                       13   Marblehead?
14       A. TERI Financial Services, Inc.             14       A. Before that transaction.
15       Q. Was TERI Financial Services, Inc.,        15       Q. Are you familiar with the term
16   a not-for-profit corporation?                    16   "loan-related assets"?
17       A. Yes.                                      17       A. I would ask you to define that.
18       Q. And was TERI Financial Services,          18       Q. You mentioned that an affiliate of
19   Inc., owned by TERI itself like as a             19   TERI owned some loans. TERI itself never owned
20   wholly-owned subsidiary?                         20   any loans.
21       A. No. It was a nonprofit affiliate.         21       A. Correct. Let me -- you need to
22       Q. And you mentioned that TERI also          22   clarify that, because in the legal world a
23   serviced loans. Did I get that correct?          23   defaulted loan essentially became the property
24       A. Well, you used the term "service"         24   of TERI. So if TERI paid a claim, TERI
25   to describe the origination process. So the      25   effectively had that loan. So I guess




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 1                 R. Neely                             1               R. Neely
 2   that's -- I guess on a legal definition of         2       A. I would say to the best of my
 3   whether TERI is the legal owner of that loan,      3   recollection, and this is going back 20 years
 4   if they paid the default, they had the right to    4   now, I would guess 200.
 5   collect on that default.                           5       Q. And I think you said the office
 6        Q. Did TERI ever have title to the            6   location was at 330 Stuart Street here in
 7   promissory notes that represented the loans to     7   Boston?
 8   those student borrowers?                           8       A. In 1997 it was.
 9        A. I believe after default, you could         9       Q. Okay. Did the office location
10   legally say that they owned the promissory        10   change?
11   note.                                             11       A. Yes.
12        Q. Such that TERI could then pursue          12       Q. To 31 James Street?
13   the defaulting borrowers for the money after      13       A. Saint James. Saint James Avenue.
14   you paid the guarantee, after TERI paid the       14       Q. Saint James. And it changed when,
15   guarantee?                                        15   I'm sorry?
16        A. Correct.                                  16       A. Well, I was not with TERI when it
17        Q. So prior to 2001, what type of            17   changed, so I would have to -- I can
18   administrative operations did TERI have?          18   approximate. I'll give you an approximate
19        A. They had the loan origination             19   period of time. It may have come over to
20   group, they had a recovery group, they had a      20   31 Saint James Avenue in 2003 approximately.
21   finance group, they had the higher education      21   Don't hold me to that date.
22   and information center. That's really the gist    22       Q. When TERI came over to 31 Saint
23   of it.                                            23   James Street, was First Marblehead also working
24        Q. And all told, how many employees          24   out of 31 Saint James Street?
25   did TERI have, approximately, up to 2001?         25       A. FMER was working out of 31 Saint
                                           Page 36                                                Page 37
 1                R. Neely                              1                R. Neely
 2   James, not First Marblehead.                       2   work in the same office as FMER?
 3       Q. First Marblehead Education                  3        A. They came to work in the same
 4   Resources?                                         4   building.
 5       A. Correct.                                    5        Q. Between 2001 and 2008, was TERI
 6       Q. Where was the office of First               6   working at 31 Saint James Avenue?
 7   Marblehead itself, the parent company?             7        A. Yes. Well, I think I told you it
 8       A. In what year?                               8   was 2003 to 2008.
 9       Q. In 2003. When TERI came over.               9        Q. 2003. Thank you, sir.
10       A. In 2003 The First Marblehead               10             Did TERI and FMER ever share
11   Corporation was in the Prudential Center, 800     11   office space?
12   Boylston Street.                                  12        A. TERI was on the same floor as FMER
13       Q. Where did you go to work, Boylston         13   initially when they came over, and later moved
14   Street for Saint James?                           14   to another floor in the building.
15       A. Saint James.                               15        Q. When TERI came over in 2003 to
16       Q. And when in 2003 TERI came over to         16   31 Saint James Avenue, did it have a separate
17   31 Saint James Street, was First -- let me        17   lease for the office space?
18   rephrase that.                                    18        A. I don't recall.
19            In 2003 when TERI came over to           19        Q. Do you know whether or not there
20   31 Saint James Street, was FMER already located   20   was any type of sublease between FMER and TERI
21   at 31 Saint James Street?                         21   in 2003?
22       A. Saint James Avenue. Yes.                   22        A. There may have been.
23       Q. Saint James Avenue.                        23        Q. Do you know to whom TERI was
24       A. Yes.                                       24   paying rent for its space at 31 Saint James
25       Q. So the employees from TERI came to         25   Avenue when it came over in 2003?




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 1                R. Neely                              1                R. Neely
 2       A. Well, as I answered a minute ago,           2   program," what is that?
 3   I'm not entirely sure that there was a             3       A. Loan program is a very broad term.
 4   sublease.                                          4       Q. I understand. Would it be simple
 5       Q. Were you in your role as -- by the          5   to say that a loan program was an agreement
 6   way, you were working for FMER as of 2003,         6   between TERI and a bank related to the private
 7   correct?                                           7   student education loans that the bank is
 8       A. I started working for FMER in July          8   making?
 9   of 2001.                                           9       A. That could be one definition for
10       Q. And, incidentally, was your                10   that term.
11   transition from TERI to FMER in any way related   11       Q. What are the other definitions of
12   to your transaction between TERI and First        12   that term?
13   Marblehead that took place in 2001?               13       A. Loan program might describe
14       A. Yes.                                       14   whether it's an undergraduate or graduate type
15       Q. How so?                                    15   of program. It might describe whether it was a
16       A. I was part of 150 some odd folks           16   subject matter program, such as a law school
17   that were essentially sold as part of an asset    17   program or a medical school program. So it
18   valuation from TERI to First Marblehead           18   could be a subject matter description. It
19   Education Resources.                              19   could be a level of education description.
20       Q. Okay, we'll come back to that in a         20       Q. Am I correct to state, though,
21   second.                                           21   that TERI did have agreements with banks?
22            Did TERI ever fund any what we           22       A. Yes.
23   call loan programs?                               23       Q. And those agreements were related
24       A. I do not understand the question.          24   to the loan programs that the banks had to lend
25       Q. When we use the term "loan                 25   money to student borrowers?
                                           Page 40                                                Page 41
 1               R. Neely                               1               R. Neely
 2       A. Yes.                                        2   under the loan programs?
 3       Q. And those agreements essentially            3       A. Not to my knowledge.
 4   governed what TERI's role was with respect to      4           MR. CASAMENTO: And that's all
 5   the loans that the banks were making?              5       between 1997 and 2001.
 6       A. Yes.                                        6           MR. FREIBERG: Certainly.
 7       Q. And with respect to those loan              7       Q. Between 1997 and 2001, did TERI
 8   programs, the agreements between TERI and the      8   ever provide any funds to the banks for the
 9   banks, did TERI ever provide any funds or money    9   banks to service their loans?
10   to the banks to help the banks, for example,      10       A. No.
11   market their loans?                               11       Q. And between 1997 and 2001 did TERI
12       A. TERI did not provide any capital           12   ever provide any money to the banks to assist
13   to banks.                                         13   the bank's collecting on those loans?
14       Q. Did TERI ever pay any, I guess you         14       A. No.
15   could say, processing fees to banks?              15       Q. Is it fair to state that there was
16       A. Not that I can think of in my              16   never any money that TERI paid to the banks?
17   period of time there. So I'm limiting my          17           MR. CASAMENTO: Objection. Can
18   experience from 1997 to 2001.                     18       you define the time period that you're
19       Q. That's fine. Between 1997 and              19       asking the question?
20   2001, did TERI ever pay any marketing fees to     20       Q. Between 1997 and 2001, to your
21   the banks for the banks to market their loans?    21   knowledge did TERI ever pay money to the banks
22       A. Not to my knowledge or                     22   for any reason?
23   recollection.                                     23       A. They paid money as a default. So
24       Q. Did TERI ever provide any fees to          24   a bank would be reimbursed for a default on a
25   the banks for the banks to originate the loans    25   guaranteed loan.




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 1                R. Neely                              1                 R. Neely
 2       get right to this.                             2   partnership between TERI and First Marblehead?
 3   BY MR. FREIBERG:                                   3             MR. FIALKOW: Objection. You can
 4       Q. In 2001 TERI transferred                    4        answer if you understand.
 5   substantially all of its loan-related assets       5        A. Yeah, I mean, it's certainly in
 6   and administrative operations to First             6   terms of it's not a legal partnership, but it
 7   Marblehead Corporation, correct?                   7   was certainly a business partnership, if you
 8       A. Correct.                                    8   will.
 9       Q. This was essentially a purchase             9        Q. And TERI essentially outsourced
10   and sale transaction by which First Marblehead    10   all of its origination staff support and
11   or FMER purchased what from TERI?                 11   administrative functions to First Marblehead?
12       A. This was an asset purchase, and            12        A. Yes.
13   there were three major elements: one was          13        Q. And did TERI sell its operating
14   people, one was data, and one was software.       14   divisions that were performing loan
15       Q. And why did TERI enter into this           15   underwriting to First Marblehead?
16   relationship with First Marblehead?               16        A. Yes.
17       A. It started as a partnership that           17        Q. Did TERI sell to First Marblehead
18   would result in the ability to expand loan        18   its operating division that was responsible for
19   programs, provide funds for TERI.                 19   originating student loans?
20       Q. Was it considered a strategic              20        A. Yes.
21   partnership between TERI and First Marblehead?    21        Q. Did TERI sell to First Marblehead
22       A. You'd have to define for me what           22   its marketing division?
23   you mean by "strategic partnership."              23        A. One or two people that were
24       Q. Strike the question "strategic."           24   marketing, I wasn't given any credit for a
25            Was it considered somewhat of a          25   division. It wasn't a division. It was one or
                                           Page 84                                                Page 85
 1                R. Neely                              1                R. Neely
 2   two people that were marketing.                    2   1985.
 3       Q. The marketing personnel?                    3        Q. And did First Marblehead pay any
 4       A. The one or two people were part of          4   cash to TERI in connection with the
 5   the 150 that moved over.                           5   transaction?
 6       Q. And did TERI sell its claims                6        A. It was value exchanged. I've got
 7   management personnel or division to First          7   to remember, that it was a monthly payment that
 8   Marblehead?                                        8   took place for -- it was at one level for 60
 9       A. The staff were part of the                  9   months cash payment, and that payment continued
10   transfer.                                         10   for another 60 months, or it was supposed to,
11       Q. How did TERI benefit from the              11   prior to the bankruptcy, continue at a lesser
12   transaction with First Marblehead?                12   amount. And I have to think back in terms
13       A. TERI received substantial funding          13   of -- I have to go back and look at the
14   and it received new partnerships, new lender      14   document.
15   partnerships.                                     15        Q. If I understand it correctly,
16       Q. New lender partnerships with               16   there was a cash component paid to TERI and
17   banks?                                            17   also TERI issued one or more promissory notes
18       A. Correct.                                   18   to First Marblehead.
19       Q. And how did First Marblehead               19        A. That's the reference I made to the
20   benefit from the transaction?                     20   document where there was 60 monthly payments
21       A. First Marblehead was able to get           21   followed by a subsequent 60 monthly payments.
22   the loan origination service and access to the    22   That's the promissory notes. I haven't looked
23   data in terms of TERI's history. So First         23   at those documents in a long time, so...
24   Marblehead received all of the default data and   24        Q. I understand. Did TERI satisfy
25   information on borrowers that had applied since   25   those promissory notes payable to First




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 1                R. Neely                              1                 R. Neely
 2   Marblehead?                                        2   Financial Services, Inc., TERI was not
 3       A. The first one, the final payments           3   securitizing loans.
 4   were not completed due to the bankruptcy.          4       Q. What role did TERI's guarantee of
 5       Q. And did TERI pay interest on those          5   student loans have in the securitization that
 6   promissory notes to First Marblehead?              6   started after 2001?
 7       A. There was -- I think it was part            7       A. I'm not sure I understand the
 8   of the note calculated amount. It was part of      8   question.
 9   the amortization schedule.                         9       Q. I'll come back to it in a minute.
10       Q. And do you recall what the amount          10            Do you recall an agreement between
11   of the loan was?                                  11   TERI and First Marblehead known as the Master
12       A. No.                                        12   Loan Guarantee Agreement?
13       Q. I saw somewhere approximately              13       A. Yes.
14   $7.9 million between TERI and --                  14       Q. And this agreement established the
15       A. I haven't looked at any documents          15   terms pursuant to which TERI would guarantee
16   in a long, long time.                             16   student loans; is that correct?
17       Q. What role in -- well, strike that          17       A. Yeah, I'm familiar with the
18   question.                                         18   document, but I have not looked at the document
19            When the transaction was first           19   in 20 years or 19 years.
20   discussed, first started to be discussed          20       Q. And there was also a servicing
21   between TERI and First Marblehead, what role      21   agreement between TERI and FMER, correct?
22   did TERI have in the securitization of student    22       A. Correct.
23   loans, or what was discussed?                     23       Q. And I may have asked you this
24       A. What role did TERI have? TERI was          24   earlier, but is FMER a wholly-owned subsidiary
25   not securing -- with the exception of TERI        25   of The First Marblehead Corporation?
                                           Page 88                                                Page 89
 1                R. Neely                              1                R. Neely
 2        A. Yes.                                       2   you recall that?
 3        Q. And the master servicing agreement         3       A. Yes.
 4   covered day-to-day operations of TERI by which     4       Q. Did that provide for First
 5   FMC, I'm sorry, FMER was essentially doing         5   Marblehead to perform the marketing-related
 6   day-to-day operations of TERI --                   6   services for the TERI-guaranteed loans?
 7        A. Yes.                                       7       A. Can you -- I'm not sure...
 8        Q. -- is that fair to say?                    8       Q. Sure. Maybe you could just tell
 9        A. That's correct.                            9   me to your recollection what did the marketing
10        Q. And then TERI reimbursed FMER for         10   agreement between TERI and FMER, what did that
11   its costs of FMER to administer the day-to-day    11   cover?
12   operations of TERI?                               12       A. Yeah, I don't recall the details.
13        A. Yes.                                      13   It was a partnership, a business partnership,
14        Q. And there was also a database sale        14   on how the marketing was going to be done.
15   and supplementation agreement, is that what you   15       Q. A business partnership between
16   were referring to earlier about the purchase of   16   FMER and TERI about how the marketing -- how
17   the data?                                         17   TERI would do the marketing?
18        A. Yes.                                      18       A. Or how marketing was going to be
19        Q. And did that give the rights --           19   done in general.
20   give a right of First Marblehead to have access   20       Q. Did the Master Loan Guarantee
21   to the data that TERI had gathered over the       21   Agreement grant TERI a right of first refusal
22   years?                                            22   to provide loan guarantees to third-party
23        A. Yes.                                      23   lenders?
24        Q. Then there was a marketing                24       A. I don't recall.
25   services agreement between TERI and FMER. Do      25       Q. Did the master loan -- maybe you




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 1               R. Neely                               1                R. Neely
 2   could tell me what did the Master Loan             2   agreement. I'd have to sit back a while and
 3   Guarantee Agreement do? I understand you           3   remember who the parties were, but that
 4   haven't read it in a while.                        4   agreement covered the receipt and collection of
 5       A. Yeah, it was a template as I                5   the funds.
 6   recall. It was a template that would be -- it      6       Q. The guarantee funds?
 7   was out there just as an overall document.         7       A. Correct.
 8       Q. The loans that -- I'm going to              8       Q. The Deposit and Security
 9   jump ahead a little bit here -- that First         9   Agreement, is that what created the pledged
10   Marblehead Corporation securitized, were all of   10   accounts that we were talking about earlier as
11   those loans guaranteed by TERI?                   11   far as you can recall?
12       A. No.                                        12       A. As far as I recall, I believe
13       Q. Were most of them guaranteed by            13   that's correct.
14   TERI?                                             14       Q. Did the Master Loan Guarantee
15       A. I'm not sure what the definition           15   Agreement allow TERI to retain a portion of the
16   of "most" is.                                     16   guarantee fees that it earned?
17       Q. I'll come back to that in a                17       A. Yes. That's the administrative
18   minute.                                           18   portion I referred to earlier today, out of the
19            Was there something known as the         19   split.
20   Deposit and Security Agreement?                   20       Q. What happened to the other portion
21       A. Yes.                                       21   of the guarantee fees?
22       Q. And what was that, between TERI            22       A. Deposited in a segregated fund.
23   and the bank -- excuse me -- between First        23       Q. Did the master service -- excuse
24   Marblehead and the banks?                         24   me -- the Master Loan Guarantee Agreement grant
25       A. There was a deposit and service            25   TERI a beneficial interest to TERI for a
                                           Page 92                                                Page 93
 1                R. Neely                              1                R. Neely
 2   portion of the residual value of the               2            MR. FIALKOW: Don't offer any
 3   securitization trust that purchased the loans      3        legal opinions or anything like that.
 4   guaranteed by TERI?                                4        Q. Fair response.
 5       A. I do recall that TERI had an                5            What did you understand the
 6   interest. Whether it was that document or          6   residual interest to mean?
 7   another document, but I do recall that TERI was    7        A. Residual interest in my mind,
 8   granted an interest in the residuals.              8   personally speaking, is the excess of any funds
 9       Q. First of all, do you recall what            9   left over in a trust after the payment of all
10   the interest was that TERI was granted?           10   of the bondholders, service providers, service
11       A. My recollection is the original            11   organizations, trustees. It's the remnants of
12   percentage was 25 percent.                        12   whatever might be left, may be left, if any.
13       Q. And the interest that TERI was             13        Q. And so part of the transaction
14   granted, by whom was it granted?                  14   between TERI and First Marblehead was that at
15       A. Who was the 25 percent granted by?         15   the end of the day -- at the end of the trusts
16       Q. Yes.                                       16   TERI would have a 25 percent interest in
17       A. The other party, First Marblehead.         17   whatever was left over?
18       Q. First Marblehead granted a                 18        A. If any.
19   25 interest -- percent interest in the residual   19        Q. If any. Okay.
20   value of the securitized trust to TERI?           20            Does that residual interest still
21       A. Correct.                                   21   exist?
22       Q. And when you say "residual value,"         22        A. I wouldn't know.
23   what do you mean? Or what did it mean?            23        Q. And was that residual interest
24       A. I would ask the legal authorities          24   that TERI was granted by First Marblehead only
25   to describe the residual interest.                25   for the trusts that were created by the




                                                                          24 (Pages 90 to 93)
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 1                 R. Neely                             1                 R. Neely
 2   National Collegiate Student Loan Trusts?           2   NCSLT trusts?
 3       A. That's correct. My understanding.           3       A. Yes. I answered that there were
 4   My recollection.                                   4   non-TERI securitizations.
 5       Q. Did TERI have a 25 percent                  5       Q. Okay. Maybe I'm confused here.
 6   interest in the residual, the remnants, of all     6   Did TERI guarantee all of the NCSLT -- strike
 7   trusts that were NCSLT trusts?                     7   the question.
 8       A. NCSLT trusts were strictly TERI             8             Did TERI guarantee all of the
 9   trusts.                                            9   student loans that ended up being part of the
10       Q. What do you mean by that?                  10   NCSLT trusts?
11       A. As I said to you earlier in answer         11       A. To my recollection, they did.
12   to your question about most, I said define        12       Q. And what you're saying is that
13   most. First Marblehead had securitized            13   there were other trusts?
14   non-TERI-guaranteed loans. TERI received, in      14       A. Not TERI guaranteed and did not
15   that agreement you referred to, a 25 percent      15   have a 25 percent interest to TERI.
16   interest only in trusts where there were -- the   16       Q. How many NCSLT trusts were there?
17   NCSLT trusts that had TERI-guaranteed loans in    17       A. My recollection is there were 15
18   it. TERI did not have an interest in              18   or 16.
19   non-TERI-guaranteed securitizations.              19       Q. What was the relationship between
20       Q. Were there other securitization --         20   First Marblehead and NCT? Or the entity that
21   excuse me -- other securitized trusts that were   21   created the NCSLT trusts.
22   not NCSLT trusts that First Marblehead owned?     22       A. Yeah, I don't have the precise
23       A. I think I just answered that.              23   legal definition of that.
24       Q. Were there trusts that First               24       Q. Was National Collegiate Trust an
25   Marblehead was involved with that were not        25   affiliate of First Marblehead?
                                           Page 96                                               Page 97
 1                 R. Neely                             1                R. Neely
 2       A. There was a legal relationship of           2       Q. Do you recall whether or not TERI
 3   some type that I'm not this second able to         3   agreed to provide the opinion of its
 4   precisely define.                                  4   Massachusetts and federal law counsel to the
 5       Q. Did First Marblehead own National           5   other parties involved in the securitization
 6   Collegiate Trust?                                  6   process of the student loans?
 7       A. That's the part I'm not legally             7       A. I wasn't involved in that.
 8   defining.                                          8       Q. So did First Marblehead's
 9       Q. Were you at all involved in the             9   profitability depend on the profitability of
10   preparation of any SEC filings for First          10   the NCSLT trusts?
11   Marblehead?                                       11       A. I think that's a subjective
12       A. Yes.                                       12   question or opinionated question.
13       Q. Were you at all involved in                13       Q. Did First Marblehead's
14   preparation of the prospectuses, prospecti I      14   profitability depend, again after 2001, depend
15   guess it is, for the NCT trusts?                  15   on the securitization of these loans, these
16       A. NCT or NCSLT?                              16   student loans?
17       Q. NCSLT, excuse me. I keep saying            17       A. I would say yes.
18   NCT. One in the same.                             18       Q. And student loan asset-backed
19       A. Yes, I assisted in the collection          19   securitizations, were they historically First
20   of information.                                   20   Marblehead's sole source of financing for its
21       Q. Do you recall, sir, TERI agreeing          21   clients, student loan programs?
22   to provide an opinion of its legal counsel to     22            MR. CASAMENTO: Objection to form.
23   First Marblehead as part of the securitization    23       You can answer if you understand the
24   process?                                          24       question.
25       A. I don't understand the question.           25            MR. FIALKOW: You can answer if




                                                                          25 (Pages 94 to 97)
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 1                R. Neely                              1                R. Neely
 2       you understand.                                2       A. Yeah, six- to seven-year period
 3       A. Yeah, I'm not sure -- I don't               3   from 2001 to about September 2007, the question
 4   understand the question.                           4   I believe was securitization-related revenues.
 5       Q. The student loan asset-backed               5   And that was a primary source of revenue.
 6   securitizations, were they historically a          6       Q. To First Marblehead?
 7   principal part of First Marblehead's financing,    7       A. To First Marblehead.
 8   revenues?                                          8       Q. And was TERI's guarantee of the
 9       A. Yes.                                        9   loans important to the securitization process?
10       Q. What percentage of First                   10       A. Well, this is an opinion. I would
11   Marblehead's finances -- excuse me, revenues?     11   say yes.
12       A. Yeah, I don't recall.                      12       Q. Okay. Why so?
13       Q. Was it greater than 50 percent?            13       A. Because it provided a reserve fund
14       A. What time period?                          14   to help pay for defaults.
15       Q. Let's say at any time after you --         15       Q. Did TERI's guarantee of the loans
16   not you, but after TERI and First Marblehead      16   that were securitized also make the trusts more
17   did their transaction.                            17   attractive to investors?
18       A. For approximately six to seven             18       A. I can't speak to that.
19   years, it was the primary source of revenue.      19       Q. When First Marblehead -- strike
20       Q. And was TERI an integral part of           20   the question.
21   that?                                             21            Could you tell me what role First
22       A. I don't know what that means.              22   Marblehead had in marketing the NCSLT trusts to
23            MR. CASAMENTO: Can you ask him to        23   investors?
24       define what six- to seven-year period         24       A. To my knowledge, First Marblehead
25       he's talking about?                           25   worked with an investment banker to work on the
                                         Page 100                                               Page 101
 1                R. Neely                              1                R. Neely
 2   trusts.                                            2       Q. Did First Marblehead Corporation
 3       Q. To your knowledge did whoever was           3   profit from TERI's guarantee of the loans?
 4   marketing the trusts to the investors stress       4       A. I don't know how to answer that
 5   the fact that TERI had guaranteed the loans        5   question.
 6   that were placed into the trusts?                  6       Q. Let me try to break it down.
 7            MR. FIALKOW: Objection.                   7            Did First Marblehead Corporation
 8       A. I was not present.                          8   earn revenues by way of TERI's guarantee of the
 9       Q. Was TERI's guarantee of the loans           9   loans?
10   an important factor to you when you were          10       A. I do not understand the math.
11   working for First Marblehead?                     11       Q. I'm sorry?
12       A. Was it an important factor to me?          12       A. I don't understand the math.
13       Q. Yes.                                       13       Q. Did TERI's guarantee of the loans
14       A. I'm not sure what that means.              14   help First Marblehead market the NCSLT trusts?
15       Q. Terrible question.                         15       A. Again, I was not in the capital
16            Was TERI's guarantee of the loans        16   markets group, so I don't know what the
17   between 2001 and 2007 an important thing for      17   presentations were.
18   First Marblehead?                                 18       Q. But to your knowledge did first --
19       A. I believe the answer is yes.               19   excuse me -- TERI's guarantee of the loans
20       Q. And was TERI's guarantee of the            20   assist with First Marblehead marketing the
21   loans between 2001 and 2007 an important thing    21   NCSLT trust due to --
22   for the NCSLT trusts?                             22            MR. FIALKOW: I think he's
23       A. I was not in the capital markets           23       answered that question like three times
24   group, and I don't know how they considered       24       now.
25   that.                                             25       A. I never attended any investment




                                                                         26 (Pages 98 to 101)
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                                        Page 126                                              Page 127
 1                R. Neely                            1                R. Neely
 2       A. Yes.                                      2        A. I can't answer that in
 3       Q. And after that transitional period        3   percentages.
 4   ended, the fees that TERI was paying to First    4        Q. Do you recall amounts?
 5   Marblehead ended ultimately?                     5        A. After the bankruptcy, the
 6       A. And after the transition period.          6   elimination of the revenue was greater than
 7       Q. How did that --                           7   50 million.
 8       A. The transition period, just to be         8        Q. Excuse me for one second.
 9   clear, included not only the disbursement but    9            (Pause)
10   related type services that were being phased,   10        Q. Do you recall what the highest
11   you know, curtailed.                            11   amount of revenue between 2001 and 2007 that
12       Q. After the transition period ended        12   First Marblehead made from the processing fees?
13   and all of the fees that TERI was paying to     13        A. Annually is your question?
14   First Marblehead stopped being paid, how did    14        Q. Yes. The highest amount.
15   that affect First Marblehead's revenue?         15        A. Received not made?
16       A. Well, there was less revenue.            16        Q. Received.
17       Q. How much less revenue?                   17        A. There were I believe, as I recall,
18       A. I don't recall.                          18   it exceeded $100 million. It may have been 100
19       Q. Was it -- it's sort of a strange         19   to 125 million. May have been. Per year.
20   word, not strange -- but was it a substantial   20        Q. May have been?
21   decrease in revenue to First Marblehead?        21        A. May have been.
22       A. What's the definition of                 22        Q. Sir, I may have asked you this
23   "substantial"?                                  23   earlier, but prior to the 2001 transaction, how
24       Q. Was it, I don't know, less than 50       24   many employees did TERI have all together?
25   percent? More than 50 percent?                  25        A. It was 200, I think, as I recall.
                                        Page 128                                              Page 129
 1                R. Neely                            1                R. Neely
 2       Q. And after the transaction did TERI        2       A. Yes.
 3   have any employees?                              3       Q. Before the transaction, was TERI
 4       A. 50.                                       4   offering health insurance to these employees?
 5       Q. The one hundred and --                    5       A. Yes.
 6       A. Approximately 50.                         6       Q. And what about after the
 7       Q. The difference is about 150. What         7   transaction?
 8   happened to those employees?                     8       A. Yes.
 9       A. Those 150 employees were part of          9       Q. TERI continued to pay --
10   the transaction. They were part of the asset    10       A. No. FMER.
11   sale.                                           11       Q. FMER, okay. Were there any
12       Q. Did they actually then become            12   overlaps in the benefits plans between First
13   employees of First Marblehead or First          13   Marblehead and FMER?
14   Marblehead Education Resources?                 14       A. I don't understand the question.
15       A. First Marblehead Education               15       Q. Did TERI pay Workers' Compensation
16   Resources.                                      16   insurance for the employees, the 150 employees,
17       Q. So their employment status was           17   before the transaction?
18   changed from TERI to FMER.                      18       A. Yes.
19       A. Correct.                                 19       Q. And after the transaction, who
20       Q. Prior to the transaction, TERI was       20   paid the Workers' Comp insurance?
21   paying, for example, payroll taxes on those     21       A. First Marblehead.
22   employees?                                      22       Q. First Marblehead had a pension
23       A. Yes.                                     23   plan in 2001?
24       Q. And after the transaction, FMER          24       A. Which entity?
25   was paying payroll taxes on those employees?    25       Q. I think it might have been The




                                                                     33 (Pages 126 to 129)
